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                                  American Arbitration Association
                               Construction Industry Arbitration Tribunal

The     Salvation Army,                              )
         Claimant,                                   )
                                                     )   AAA Case No. 01-16-0002-8533
v.                                                   )
                                                     )

S.M.Wilson & Co. & Architechnics, Inc.           )
      Respondents.                                   )

     Order on S.M. Wilson’s Objections to The Salvation Army’s Use of Previously Undisclosed
         Witnesses at Hearing and the Respondent’s Joint Motion for a Show Cause Order

         The Panel considered S.M. Wilson’s Objections to The Salvation Army’s Use of

Previously Undisclosed Witnesses at Hearing (“Witness Objections”) and Respondent’s Joint

Motion for a Show Cause Order (“Show Cause Motion”). The Panel acknowledges the Joint

Motion is now solely the motion of S.M. Wilson & Co. (“SMW”).

         The Panel considered the responses to both motions filed by The Salvation Army

(“TSA”).

          Having considered all filings of the parties, the Panel orders:

Witness Objections

         The Panel makes no ruling at this time.

         The parties shall present their arguments on this motion at 9:00 a.m. on March 5, 2020 as

the first order of business during the evidentiary hearings. The parties should be prepared to

answer questions related to the claims, statements, and assertions set out in the Witness Objections

and TSA’s response thereto.

Show Cause Motion

         SMW’s Show Cause Motion has various categories and the Panel addresses the motion by

category.

         SMW’s Standing to Present this Motion
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                                                                                                 Exhibit
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         The Panel has considered TSA’s argument that SMW has no standing to present this

modon. The Panel acknowledges many of the discovery requests were the requests of SMW’s co­

respondent, who settled its claims with TSA.

         The Panel finds SMW has standing to present this motion.

         ARCHIBUS Documents

         The Panel denies SMW’s motion relative to the ARCHIBUS documents in all respects

except as set out below.

         If SMW requests a subpoena to secure ARCHIBUS documents, the Panel will execute

such a subpoena.

         Meeting Minutes

         The Panel makes no ruling at this time relative to Meeting Minutes.

         The parties shall present their arguments on this aspect of the motion at 9:00 a.m. on

March 5, 2020 as the second order of business during the evidentiary hearings. The parties should

be prepared to answer questions related to the claims, statements, and assertions set out in this

segment of the Show Cause Motion and the response thereto.

         Keck’s E-mails

         The Panel finds SMW failed to meet its burden of proof to be entitied to relief under this

section of the Show Cause Motion. SMW’s regarding Keck’s e-mails is denied.

         Text Messages

         The Panel makes no ruling at this time relative to the text messages.

         However, the parties shall present their arguments on this segment of the motion at 9:00

a.m. on March 5, 2020 as the third order of business during the evidentiary hearings. The parties

should be prepared to answer questions related to the claims, statements, and assertions set out in

this segment of the Show Cause Motion and the response thereto.
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                                      So Ordered,


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                                      Arbitrator,                          Date




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